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                                                   IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE DISTRICT OF COLORADO
                                                          Chief Judge Marcia S. Krieger


Case No._ Civil Action No. 13-CV-1300-MSK-MJW ______

Date: January 31, 2014

Case Title: Colorado Outfitters Association, et al., Plaintiffs v. John W. Hickenlooper, Governor of the State of Colorado, Defendant

                                                                  ADDENDUM B
                                                               JOINT EXHIBIT LIST

                                                                                                                                         Court Use
 Exhibit            Witness                           Brief Description                    Stipulation Offered   Admitted      Refused
                                                                                                                                           Only
            Proposed stipulation, or
            Rule 1006, by Smith
            Cooke, Heap, Vallario,
    1       Maketa, or Crone           Sheriffs Offices’ Firearms Policies
                                       Christopher S. Koper, An Updated Assessment
                                       of the Federal Assault Weapons Ban: Impacts
                                       on Gun Markets and Gun Violence, 1994-2003,
                                       Report to the National Institute of Justice, June
    2       Proposed stipulation       2004.
                                       Defendant’s Response to Non-Profits and
                                       Individual Disabled Plaintiffs’ 1st Requests for
    3       Proposed stipulation       Admission.
                                       Defendant’s Response to Sheriffs and
    4       Proposed stipulation       Strumillo’s Discovery Requests.
                                       Cabela’s ATF Compliance, by Falcon
    5       Proposed stipulation       Communication.
                                       Defendant’s Responses to Plaintiffs FFL,
                                       Magpul, CSSA, and Hamilton Family
    6       Proposed stipulation       Enterprises’ First Set of Discovery.
    7       Proposed stipulation, or   Colorado Bureau of Investigation emails, bates
                                                                           1
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     Sloan or Spoden            labeled as CBI 00033, 00071-00075, 00125,
                                000126.
     Proposed stipulation, or   Previous Colorado Attorney General Technical
8    other witness as needed    Guidance
9    Proposed stipulation       ATF Procedure 2013-1
                                Colorado Bureau of Investigation InstaCheck
     Proposed stipulation, or   Firearm Statistics: Comparison of calendar year
10   Sloan or Spoden            2012 and calendar year 2013.
     Proposed stipulation, or   Colorado Bureau of Investigation Private Sales
11   Sloan or Spoden            July-September 2013, CBI 00001-00009
     Proposed stipulation, or   Colorado list of federally licensed firearms
12   Sloan or Spoden            dealers
                                Colorado Bureau of Investigation InstaCheck
     Proposed stipulation, or   Firearms Statistics from September 19, 2013;
13   Sloan or Spoden            CBI 00016-00019.
                                Colorado Bureau of Investigation Unit: Reasons
                                for Denial for Dealer/FFL and Private Firearm
                                Transactions for the Months of July, August,
     Proposed stipulation, or   September, October, and November 2013; CBI
14   Sloan or Spoden            00021-00030.
                                Data compilations and summaries under FRE
     John Burrud/Timothy        1006 regarding federally licensed firearms
15   Brough                     Plaintiffs’ sales and inventories.
                                ROBERT W.D. BALL, MAUSER MILITARY
16   Michael Shain              RIFLES OF THE WORLD.
                                Clayton E. Cramer & Joseph Olson, Pistols,
                                Crime, and Public Safety in Early America, 44
17   Michael Shain              WILLAMETTE LAW REVIEW 699 (2008).
                                JAMES B. GARRY, WEAPONS OF THE LEWIS AND
18   Michael Shain              CLARK EXPEDITION
19   Michael Shain              S.P. FJESTAD, BLUE BOOK OF GUN VALUES
                                NORM FLAYDERMAN, FLAYDERMAN’S GUIDE TO
                                ANTIQUE AMERICAN FIREARMS AND THEIR
20   Michael Shain              VALUES
                                GEORGE B. JOHNSON, INTERNATIONAL
21   Michael Shain              ARMAMENT
                                                                  2
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22   Michael Shain            JERRY LEE, STANDARD CATALOG OF FIREARMS
     Proposed stipulation,
23   or Michael Shain         JERRY LEE, GUN DIGEST
24   Michael Shain            GEORGE MADIS, THE WINCHESTER HANDBOOK
                              PHILLIP PETERSON, STANDARD CATALOG OF
25   Michael Shain            MILITARY FIREARMS
                              JOHN PLASTER, THE HISTORY OF SNIPING AND
26   Michael Shain            SHARPSHOOTING
                              ARTHUR PIRKLE, WINCHESTER LEVER ACTION
27   Michael Shain            REPEATING FIREARMS
                              W.H.B. SMITH, GAS, AIR, AND SPRING GUNS OF
28   Michael Shain            THE WORLD
                              JIM SUPICA, DOUG WICKLUND & PHILIP
                              SCHREIER, THE ILLUSTRATED HISTORY OF
29   Michael Shain            FIREARMS
                              JIM SUPICA AND RICHARD NAHAS, STANDARD
30   Michael Shain            CATALOG OF SMITH & WESSON
31   Michael Shain            JOHN WALTER, RIFLES OF THE WORLD
                              DOUG WICKLUND, TREASURES OF THE NRA
32   Michael Shain            NATIONAL FIREARMS MUSEUM
                              HAROLD F. WILLIAMSON, WINCHESTER THE
33   Michael Shain            GUN THAT WON THE WEST
34   Michael Shain            LEWIS WINANT, FIREARMS CURIOSA
     Rule 1006, by Smith
     Cooke, Heap, Vallario,
     Maketa, or Crone, or     County Sheriffs’ Responses to Defendant’s
35   proposed stipulation     Requests for Written Discovery.
                              Daniel Webster deposition transcript from case
36   Daniel Webster           New York v. A-1 Jewelry and Pawn
                              Letter from Tommy Knappich to Bob Hewson
37   Bob Hewson               dated Jan. 31, 2014
                              Letter from Lynn A. Hammond to Bob Hewson
38   Bob Hewson               dated Aug. 14, 2013
                              Letter from Stephanie Donner to Mayor of
39   Bob Hewson               Loveland and Loveland City Council dated July
                                                               3
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                            10, 2003
                            Letter from Loveland City Council to John W.
40   Bob Hewson             Hickenlooper dated July 2, 2013
                            Chart Reflecting FFL Responses Regarding
                            Willingness to Conduct 1229 Background
41   Nick Colglazier        Checks
                            ATF’s Annual Firearms Manufacturers and
42   Proposed stipulation   Export Reports
                            ATF’s Firearms Commerce in the United States
43   Proposed stipulation   Annual Statistical Update 2012
                            ATF’s Firearms Commerce in the United
                            States, Annual Statistical Update 2013 (and
44   Proposed stipulation   2014 update if it becomes available)
45   Michael Shain           A.F. STOEGER, THE SHOOTERS BIBLE
46   Michael Shain           JEAN-NOEL MOURET, PISTOLS AND REVOLVERS
                            Daniel Webster deposition transcript from case
                            Illinois Assoc. of Firearms Retailers v. Chicago
47   Daniel Webster         Pawn
     Patricia Maisch and    New York Times news article dated January 9,
48   Roger Salzberger       2011.
                            Patricia Maisch legislative testimony regarding
49   Patricia Maisch        HB 1224.
                            State of Patricia Maisch before the Senate
                            Subcommittee on Crime and Terrorism, dated
50   Patricia Maisch        November 15, 2011.
51   Ronald Abrams          Troop Organizational Chart and other charts
52   Ronald Abrams          Colorado Mounted Rangers Firearms Policy
                            Colorado Mounted Rangers Policy & Procedure
53   Ronald Abrams          Manual, Version VI, October 2013
54   Ronald Abrams          CMR Memoranda of Understanding
55   Nick Colglazier        State Resolutions Committee Report
                            Press Release, "Burglary in Progress Suspects
56   Cooke                  Arrested" 6/29/11
57   Cooke                  Press Release, "Three Arrested on Burglary
                                                               4
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                             Charges" 10/6/11
58    Cooke                  Oath
                             Weld County Zoning Ordinance, Ch. 23:
59    Cooke                  Zoning
60    Proposed Stipulation   5/16/13 Technical Guidance
61    Proposed Stipulation   7/10/13 Technical Guidance
62    Dahlberg               The Armed Citizen: A Five Year Analysis
63    Dahlberg               Photo of firearm with 50-round magazine
64    Dahlberg               Photo of firearm with 25-round magazine
65    Dahlberg               Photo of firearm with 100-round magazine
                             April 1998 Department of the Treasury Study
                             on the Sporting Suitability of Modified
66    Proposed Stipulation   Semiautomatic Assault Rifles
                             Hamilton Family Enterprises, Inc. Family
67    Hamilton               Shooting Center data, 2009-2013, with updates
                             "Armed Resistance to Crime: The Prevalence
68    Kleck or Zax           and Nature of Self-Defense with a Gun"
                             Questionnaire used in the National Self-
69    Kleck or Zax           Defense Survey
                             Do criminals go to the hospital when they are
70    Kleck                  shot?
71    Kleck                  Firearm violence: 1993-2011
                             Policy Lessons from Recent Gun Control
72    Kleck                  Research
                             Impact of handgun types on gun assault
73    Kleck                  outcomes
                             The case for enhanced data collection of gun
74    Kleck                  type
                             Victim resistance and offender weapon effects
75    Kleck                  in robbery
                             JAMA 1/3/1996, Characteristics of Firearms
76    Kleck                  Involved in Fatalities
 77   Moore                  Curriculum Vitae

                                                              5
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78    Moore                 Mortality by Year
                            Epidemiology of Trauma Deaths: A
79    Moore                 Reassessment
80    Moore                 Publication in the JAMA
                            Aurora theater photos
81    Oates
82    Oates                 Aurora theater 911 recording
83    Spoden                CBI Instacheck statistics
84    Ayoob                 Curriculum vitae
85    Shain                 Curriculum vitae
 86   Davis                 Curriculum vitae
 87   Kleck                 Curriculum vitae
88    Ayoob                  Answering some well asked questions
89    Ayoob                  CNN article re Giffords shooting
90    Ayoob                  The Ayoob Files
91    Ayoob                  AZ Central article on Maisch shooting
92    Ayoob                  Wheelchair articles
93    Ayoob                  The View from the Chair
94    Ayoob                  Wounded Heroes
95    Ayoob                  Women and guns
96    Ayoob                  Do older folks need different handguns
97    Ayoob                  Concealed carry article
98    Ayoob                  Lance Thomas article
99    Ayoob                  Lead & Diamond article
100   Spoden                FFL Colorado map
101   Webster               Missouri article and accompanying charts
                            2009 J. Urb. Health article and accompanying
102   Webster               charts
103   Webster               Statistical analsysi
104   Zax                   Firearm Injury Trends 1985-1995
                                                             6
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105   Zax                   Handguns in the 1990s
106   Zax                   Injury Prevention 2003
107   Zax                   JAMA 01-1996
108   Zax                   Journal of Trauma 12-2004
109   Zax                   Koper 2013
110   Zax                   Lethality of Firearm Injuries
                            MMWR 4/13/2001, Surveillance for Fatal and
                            Nonfatal Firearm-Related Injuries, US 1993-
111   Zax                   1998
                            MMWR 9/3/2004, Surveillance for Fatal and
112   Zax                   Nonfatal Injuries, US 2001
113   Zax                   Semi-Automatic Handguns
114   Zax                   UPenn Firearm Inj in the US 2011
115   Zax                   WaPo 1-13-13
116   Zax                   WaPo 1-23-11
117   Zax                   FRE 1006 Exhibits re Sheriff data
                            Demonstrative charts re LCM use in mass
118   Zax                   shootings
119   Zax                   Demonstrative charts re effect of LCM ban
120   Zax                   Demonstrative charts re defensive shots fired
                            Wintemute New Eng. J. Med. (2010)
121   Zax
                            Sandy Hook police reports
122   Fuchs
                            Articles on intervention/escape while changing
123   Fuchs                 magazines
124   Hampton               2013 Big Game Brochure
125   Hampton               2013 Big Game Corrections Brochure
126   Hampton               2013 Mountain Lion EFLIP Brochure
127   Hampton               2013 Sheep and Goat Brochure
128   Hampton               2013 Small Game Brochure
129   Hampton               2013 Turkey Brochure
                                                              7
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  130   Hampton                   2013 Waterfowl Brochure
 131    Hampton                   Elk University Chap. 1, Lesson 12
                                  Gunbroker web page re Search the FFL Holder
 132    Brough                    Network
 133    Burrud                    Gunbroker web page re Smith & Wesson M&P
 134    Burrud                    Gunbroker web page re DPMS SASS .308
 135    Burrud                    Gunbroker web page re Core 15 MOE M4 .300
136     Burrud                    Emails from Bill Binet
137     Davis                     Hood/Davis email string
138     Davis                     Tactical-Life.com: Lifesaving Backup Guns
                                  New York Times: 11 Years of Police Gunfire in
139     Davis                     Painstaking Detail
                                  Colorado Youth Outdoors website "The
140     Hewson                    Maverick"
141     Brown                     ATF FFL guide
142     Brown                     18 U.S.C. § 922
143     Brown                     H2A visa information
        Proposed stipulation or
144     authentication witness    Bass Pro Shops documents produced
145     Proposed stipulation      FFL discovery responses
146     Proposed stipulation      Sheriffs’ discovery responses
147     Proposed stipulation      David Bayne discovery responses
148     Proposed stipulation      CSSA discovery responses
149     Proposed stipulation      Strumillo discovery responses
150     Proposed stipulation      Farm Bureau discovery responses
151     Proposed stipulation      Hamilton discovery responses
152     Proposed stipulation      Nonprofit discovery responses
                                  Women for Concealed Carry discovery
153     Proposed stipulation      responses
        Proposed stipulation or
154     authentication witness    CACP Position Statement

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      Proposed stipulation or
155   authentication witness    CACP Testimony re background checks
      Proposed stipulation or
156   authentication witness    CACP Final 2013 Session Report
      Proposed stipulation or
157   authentication witness    CACP Testimony re HB1224 (030413)
      Proposed stipulation or
158   authentication witness    CACP Testimony re HB1229
      Proposed stipulation or
159   authentication witness    CACP Testimony re HB1224 (021213)
160   Proposed stipulation      CBC White Paper Final Report 022013
161   Proposed stipulation      ATF FFL Procedures (Part 478)
                                ATF study on the importability of certain
162   Proposed stipulation      shotguns, Jan. 2011, and July 2012
                                Federal Firearms Licensee Plaintiffs Survey of
163   Shain                     Practices
                                Article on Lance Thomas, 2002 WLNR
164   Massad Ayoob              14052078
                                Various articles on Richmond, Vir., jewelry
165   Massad Ayoob              store robbery
                                Tom Aveni, Officer-Involved Shootings: What
                                We Don’t Know Has Hurt Us, The Police
166   Kevin Davis               Policy Studies Council
167   Gary Kleck                National Crime Victimization Survey
                                Geller, William A. and Michael S. Scott. 1993.
                                Deadly Force: What We Know. Washington,
168   Gary Kleck                D.C.: Police Executive Research Forum.
                                Southwick, Lawrence. 2000. “Self-defense with
                                guns: The consequences.” Journal of Criminal
169   Gary Kleck                Justice 28:351-370.
                                Kleck, Gary. 1997. TARGETING GUNS:
                                FIREARMS AND THEIR CONTROL. NY: Aldine de
170   Gary Kleck                Gruyter.
                                Kleck, Gary. 2001. “The frequency of defensive
171   Gary Kleck                gun use: evidence and disinformation.” Chapter

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                          6 in ARMED, by Gary Kleck and Don B. Kates.
                          NY: Prometheus Books.
                          Kleck, Gary. 2001. “The nature and
                          effectiveness of owning, carrying, and using
                          guns for self-protection.” Chapter 7 in ARMED,
                          by Gary Kleck and Don B. Kates. NY:
172   Gary Kleck          Prometheus Books.
                          McGonigal, M.D., Cole, J., Schwab, C.W.,
                          Kauder, D.R., Rotondo, M.F., and Angood,
                          P.B. 1993. “Urban firearm deaths: a five-year
                          perspective.” The Journal of Trauma 35:532-
173   Gary Kleck          537.
                          Tark, Jongyeon, and Gary Kleck. 2004.
                          “Resisting crime: the effects of victim action on
                          the outcomes of crimes.” Criminology 42:851-
174   Gary Kleck          908.
                          Study of mass shootings. Appendix to expert
175   Gary Kleck          report.
                          United States Center for Disease Control
                          (CDC), Evaluating the Effectiveness of
                          Strategies for Preventing Violence: Firearms
176   Michael Shain       Laws (11/3/2003)
                          National Research Council, Priorities for
                          Research to Reduce the Threat of Firearm-
177   Michael Shain       Related Violence (4/2013)
                          United States Department of Justice, Bureau of
                          Justice Statistics Special Report: Firearm
178   Michael Shain       Violence, 1993-2011 (5/2013)
                          Armed and Considered Dangerous; A Survey of
179   Michael Shain       Felons and Their Firearms. (Wright & Rossi)
                          United State Department of Justice, Federal
                          Bureau of Investigation, Handgun Wounding
180   Michael Shain       Factors and Effectiveness (7/1989)
                          National Institute of Justice, Research Brief,
                          Guns in America: National Survey on Private
181   Michael Shain       Ownership and Use of Firearms. (5/1997)

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                          Department of Justice, Federal Bureau of
                          Investigation, Defensive Systems Unit Ballistic
                          Research Facility; Officer Involved Shooting:
182   Michael Shain       Pennsylvania Police Department. (11/2006)
                          United States Department of Justice, Bureau of
                          Justice Statistics Report: Crime Against Persons
183   Michael Shain       with Disabilities, 2009-2011 (12/2012)
                          New York City Police Department Annual
184   Michael Shain       Firearms Discharge Report
                          Cato Institute “Guns and Self Defense”
                          interactive incident map,
185   Michael Shain       http://www.cato.org/guns-and-self-defense
                          Reedy, D. C. / Koper, C. S. Impact of handgun
                          types on gun assault outcomes: a comparison of
                          gun assaults involving semiautomatic pistols
186   Zax                 and revolvers. 2003.




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